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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                              *      MDL No. 2179
“DEEPWATER HORIZON” in the                                   *
GULF OF MEXICO, on                                           *      SECTION J
APRIL 20, 2010                                               *
                                                             *      JUDGE BARBIER
THIS DOCUMENT RELATED TO:                                    *      MAG. JUDGE SHUSAN
                                                             *
IN RE: TRITON ASSET LEASING GmbH                             *
Case No. 2:10-cv-02771-CJB-SS                                *

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                   MEMORANDUM IN SUPPORT OF MOTION
                     FOR ACCEPTANCE OF LIMITATION
  SHORT FORM JOINDERS FILED AFTER THE SEPTEMBER 16, 2011 DEADLINE

       NOW INTO COURT, through undersigned counsel, come Claimants who file this

Memorandum in Support of the accompanying Motion for Acceptance of Limitation Short Form

Joinders Filed After the September 16, 2011 Deadline. Claimants seek this Honorable Court’s

permission to accept Claimants’ late-filed joinders in the limitation proceeding for the following

reasons:

       1. Because Claimants were unaware of the deadline, or had yet to fully realize their

           damages, they did not contact counsel in time to meet the Court-established deadline.

           As such, the Claimants did not timely meet the monition date established by the

           Court.

       2. Upon showing of reason, the Court should grant permission to file late claims if the

           “limitation proceeding is pending and undetermined, and the rights of the parties are
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     not adversely affected.” Texas Gulf Sulphur Co. v. Blue Stack Towing co., 313 F.2d

     359, 362 (5th Cir. 1963) (citing 3 Benedict on Admiralty § 518, p. 542 (Knauth ed.

     1940)).

  3. No prejudice will result from the acceptance of the Claimants’ Short Form Joinders.

     No action has been taken in the limitation proceeding which could cause prejudice to

     any other party to the proceeding.

  4. The Transocean limitation proceeding is pending and undetermined.

     For these reasons, Claimants respectfully move this Court for an Order accepting

     their late-filed joinders and granting the accompanying Motion for Acceptance of

     Limitation Short Form Joinders Filed After the September 16, 2011 Deadline.




                                                     Respectfully submitted,

                                                     /s/ Joseph M. Bruno___
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                          CERTIFICATE OF SERVICE
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       I hereby certify that on March 13, 2012, I electronically filed the foregoing document

with the Clerk of Court for the United States District Court of the Eastern District of Louisiana

via the CM/ECF System which will provide notice to all counsel of record.


                                                           /s/ Joseph M. Bruno
                                                           JOSEPH M. BRUNO (#3604)
